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                 EXHIBIT 5




 
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    OFFICE OF                                                 ONE JOHNSON &JOHNSON PLAZA
 GENERAL COUNSEL                                              NEW BRUNSWICK, N.J. 08933-7002




                                          AGREEMENT

       This ("Agreement") is entered into this 6th day of March 2017 (the "Effective Date"), by
and between Janssen Biotech, Inc., formerly known as Centocor, Inc.("Janssen"), a
Pennsylvania company with its principal place of business at 800 Ridgeview Drive, Horsham,
Pennsylvania 19044 (hereinafter "Janssen") and Johnson & Johnson, a New Jersey corporation
with its principal executive offices at One Johnson &Johnson Plaza, 1Vew Brunswick, New
Jersey 08933 (hereinafter "J&J"), collectively referred to herein as "the Parties."

                                           RECITALS

       WHEREAS Janssen is the sole assignee of United States Patent 7,598,083 (the "083
patent");

      WHEREAS J&J is a holding company, which has more than 230 operating companies
conducting business in virtually all countries of the world;

       WHEREAS Janssen is a J&J operating company and a wholly owned subsidiary of J&J;

       WHEREAS valid and enforceable intellectual property rights are one of the most
valuable assets of J&J and Janssen and are critical to the operations of their businesses;

        WHEREAS J&J's subsidiaries, including Janssen, apply for and obtain patents on their
intellectual property whenever possible;

     WHEREAS it is the practice throughout the operating companies of J&J for patents to be
owned by a single J&J operating company or subsidiary;

        WHEREAS it is important for accounting and tax reasons that patents be owned by a
single J&J operating company or subsidiary so that income and expenses be properly allocated;

      WHEREAS it is likewise important for patent prosecution and enforcement that patents
be owned by a single J&J operating company or subsidiary;

      WHEREAS consistent with this practice the `083 patent was assigned to Centocor, Inc.,
now called Janssen;

      WHEREAS the business records kept by J&J and Janssen in the regular course of their
business reflect and have always reflected that Janssen is the assignee of the `083 patent;

       WHEREAS J&J and Janssen have a mutual interest in the efficient enforcement of
patents that Janssen owns;
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        WHEREAS Janssen is presently involved in litigation for infringement of the `083 patent
in the cases captioned Janssen Biotech, Inc. v. Celltrion Healthcare Co., Ltd., No. 15-10698 (D.
Mass.) and Janssen Biotech, Inc. v. Celltrion Healthcare Co., Ltd., No. 16-cv-11117 (D. Mass)
pending in the United States District Court, District of Massachusetts; and Janssen Biotech,
Inc.v. HyClone Laboratories, Inc., No. 16-00071 (D. Utah) pending in the United States District
Court, District of Utah;

       WHEREAS in these litigations, Janssen has filed suit as the sole owner of the `083 patent
to enforce its patent rights;

        WHEREAS Celltrion Healthcare Co., Ltd., Celltrion, Inc., and Hospira, Inc.(collectively
"Celltrion") have disputed Janssen's sole ownership of the `083 patent based on agreements
signed by four co-inventors (collectively the "Employee Agreements"): an Employee Secrecy
Agreement signed by David Epstein on April 10, 2001 (attached hereto as Exhibit A); an
Employee Secrecy, Non-Competition and Non-Solicitation Agreement signed by co-inventor
Chris Marsh on September 30, 2002 (attached hereto as Exhibit B); an Employee Secrecy, I~on-
Competition and Non-Solicitation Agreement signed by co-inventor Roger Monsell on July 2,
2001 (attached hereto as Exhibit C); and an Employee Secrecy, Non-Competition and Non-
Solicitation Agreement signed by co-inventor Sadettin Ozturk on January 28, 2003 (attached
hereto as Exhibit D);

       WHEREAS Celltrion has argued that by signing the Employee Agreements, the co-
inventors assigned their rights in the `083 patent simultaneously to "Centocor, and Johnson &
Johnson and any of their successors or assigns, purchasers, acquirers, and any of their existing
and future subsidiaries, divisions or affiliates";

        WHEREAS neither J&J nor any of J&J's existing or future subsidiaries, divisions or
affiliates other than Janssen itself owns, has ever owned, or has ever claimed ownership in, the
`083 patent;

      WHEREAS it is in not in the interest of either J&J or of Janssen for ownership of the `083
patent be held by any J&J entity other than Janssen;
      to

      THEREFORE,for avoidance of doubt, the Parties wish to resolve these ownership issues
once and for all times, and the Parties agree as follows:

   1. Janssen is the sole owner of the `083 patent and there has never been any owner of the
      `083 patent other than Janssen.

   2. J&J has never asserted any ownership rights to the `083 patent and agrees to forbear from
      asserting any such rights at any time in the future. J&J acknowledges that it has no rights and
      never has had any legal or equitable rights, including any shop rights, to the `083 patent. J&J
      represents that none of its successors, assigns, purchasers and acquirers and existing and
      future subsidiaries, divisions, and affiliates, other than Janssen:
          a. has or will assert any ownership rights to the `083 patent; and
          b. has had any rights and or any legal or equitable rights, including any shop rights,
              to the `083 patent.
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JANSSEN BIOTECH,INC.                       JOHNSON &JOHNSON

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By Michael Yang                            By Dominic Caruso
President                                  Chief Financial Officer

Date:                                      Date:
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